              Case 3:23-cv-00636
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                                                      Haslam Law Firm LLC09/26/24
                                                                          Mail - RE: HudsonPage
                                                                                           v. Racer,1  of 6 PageID #: 2181
                                                                                                    et al.



                                                                                               Tyler Haslam <tyler@haslamlawfirm.com>



  RE: Hudson v. Racer, et al.
  1 message

  Stebbins, James C. <jstebbins@flahertylegal.com>                                     Mon, Sep 16, 2024 at 8:45 AM
  To: Tyler Haslam <tyler@haslamlawfirm.com>
  Cc: Kerry Nessel <nessel@comcast.net>, "Wendy E. Greve" <wgreve@pffwv.com>, Jayne Hudnall <jhudnall@pffwv.com>,
  "Burdette, Danica N." <dburdette@flahertylegal.com>


     Tyler:


     It is not my desire to bother the Court with this matter either. Respectfully, you could have asked Mr. Racer
     about his orbital fracture when you deposed him the first time and the right questions were not asked. I
     don’t think that you ever proposed a protective order at any time.


     Nevertheless, as a compromise, I will offer to permit a deposition of Mr. Racer by written questions under
     Rule 31 or I will have my client answer interrogatories targeted at the issue(s) you describe and I will do
     what I can to get answers promptly and not take 30 days. Doing one of this things will allow you to get the
     discovery you want with the least impact on his training.


     Let me know if one of these options works for you.


     Best,


     Jamie



     James C. Stebbins
     Member




     Flaherty
     FLAHERTY SENSABAUGH BONASSO PLLC

     P.O. BOX 3843

     CHARLESTON, WV 25338

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     PHONE: 304.205.6388

     FAX: 304.345.0260




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     From: Tyler Haslam <tyler@haslamlawfirm.com>
     Sent: Friday, September 13, 2024 4:11 PM
     To: Stebbins, James C. <jstebbins@flahertylegal.com>
     Cc: Kerry Nessel <nessel@comcast.net>; Wendy E. Greve <wgreve@pffwv.com>; Jayne Hudnall
     <jhudnall@pffwv.com>; Burdette, Danica N. <dburdette@flahertylegal.com>
     Subject: Re: Hudson v. Racer, et al.




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     Jamie,Racer can and should be deposed a second time, particularly as it relates to the newly discovered information about his orbital fracture and brain bleed.Further, we indicated at the Rule 26(f) conference that we were fine with all standard protective orders promulgated by t ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




     Jamie,



     Racer can and should be deposed a second time, particularly as it relates to the newly discovered information about his
     orbital fracture and brain bleed.



     Further, we indicated at the Rule 26(f) conference that we were fine with all standard protective orders promulgated by the
     Southern District.



     We are trying to resolve this without court intervention, and we would like to avoid the unnecessary cost and delay
     associated with trying to compel his deposition through the court. Given the time constraints placed on depositions by
     order this week, we will ask the Court to intervene Monday morning if this issue cannot be resolved amicably between
     now and then.



     Tyler



     On Fri, Sep 13, 2024 at 4:00 PM Stebbins, James C. <jstebbins@flahertylegal.com> wrote:

                                  Kerry:


                                  I managed to talk to Mr. Racer today and he is not willing to be deposed voluntarily a second time. He is
                                  not trying to be difficult but we think that the request is not fair or reasonable for many reasons.


                                  First of all, as you know, Mr. Racer was made available on July 2, 2024 starting at 9:00 in the morning
                                  and when Plaintiff decided to terminate his deposition at 2:15 p.m., that was not because of any request
https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-f:1810356780370172651&simpl=msg-…                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         2/6
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                                                      Haslam Law Firm LLC09/26/24
                                                                          Mail - RE: HudsonPage
                                                                                           v. Racer,3  of 6 PageID #: 2183
                                                                                                    et al.
        by Mr. Racer or his counsel to stop and we would have made him available for the remainder of the
        afternoon if necessary. We had no discussion at that time that there was any reason to leave the
        deposition open.


        Secondly, I do not think that it is fair to ask Mr. Racer to subject himself to another deposition so that you
        can ask him questions about the KCSD investigation report. You have known about the existence of that
        report since it was first disclosed by the County Defendants in this case in their initial disclosures on July
        2. 2024. The disclosures by the County Defendants indicated that the report would be made available to
        the other parties upon entry of a Protective Order and I do not believe that Plaintiff ever submitted any
        proposed Protective Order to obtain those documents prior to deciding to take Mr. Racer’s deposition.


        I would also note that Mr. Haslam already asked Mr. Racer’s questions about that investigation during his
        deposition.


        I am also aware of case law holding that if a party chooses to prematurely take a deposition before
        document discovery is complete, that is not an excuse for subjecting a witness to a second deposition.


        Third, the Rules clearly contemplate only 1 deposition per witness unless stipulated by the parties.


        Lastly, as you know, Mr. Racer is currently enrolled at the West Virginia State Police Academy where he
        hopes to graduate on December 13, 2024. I understand that this training is taxing both mentally and
        physically and I do not think that it is fair to ask him to prepare for and undergo a deposition (especially a
        second deposition) while he is in the middle of that training.


        Based upon all of the above, I must respectfully decline your request. If you would like to discuss this
        further, please give me a call.


        Have a nice weekend everyone.


        Best,


        Jamie



        James C. Stebbins
        Member




        Flaherty
        FLAHERTY SENSABAUGH BONASSO PLLC

        P.O. BOX 3843
https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-f:1810356780370172651&simpl=msg-…   3/6
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                                                                                                    et al.
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        FAX: 304.345.0260



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        From: Kerry Nessel <nessel@comcast.net>
        Sent: Thursday, September 12, 2024 12:41 PM
        To: Stebbins, James C. <jstebbins@flahertylegal.com>
        Cc: Wendy E. Greve <wgreve@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>;
        tyler@haslamlawfirm.com; Burdette, Danica N. <dburdette@flahertylegal.com>
        Subject: Re: Hudson v. Racer, et al.




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        Thanks for thorough response.



        Sent from my iPhone



                On Sep 12, 2024, at 12:10 PM, Stebbins, James C. <jstebbins@flahertylegal.com> wrote:

                ﻿

                Hi Kerry:


                I need to look at some things regarding this request and am under a deadline in another
                matter today and I also want to try to reach out to my client about it. I will give you a full
                response tomorrow even if I am unable to reach him. I did not want you to think I was
                ignoring this request since you asked for an answer ASAP.


                Best,


                Jamie



                James C. Stebbins
                Member
https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-f:1810356780370172651&simpl=msg-…   4/6
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                From: KERRY NESSEL <nessel@comcast.net>
                Sent: Wednesday, September 11, 2024 2:17 PM
                To: Stebbins, James C. <jstebbins@flahertylegal.com>; Wendy E. Greve
                <wgreve@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>
                Cc: tyler@haslamlawfirm.com
                Subject: Hudson v. Racer, et al.




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                Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to the 700 + page internal affairs investigation, specifically Lt. Pile's interview with Racer and her conclusions. As the Court entered and order yesterday extending the deposition deadline to Sept 27 a ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




                Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to the 700 + page internal
                affairs investigation, specifically Lt. Pile's interview with Racer and her conclusions.

                As the Court entered and order yesterday extending the deposition deadline to Sept 27 and the recent
                disclosure, we believe our request is reasonable.

                Please let me know ASAP.

                Additionally, considering Racer had been brutally battered by no less than 5 men at a bar and suffered
                significant physical injuries, including a brain bleed and broken orbital bone on his left side, we request
                his medical records concerning the same.

                Further, we are willing to travel to the WVSP academy to conduct this deposition.

                Finally, please provide us dates for your availability to depose Lt. Pile. I assume this will have to take
                place in Chas.

                Thanks.

https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-f:1810356780370172651&simpl=msg-…                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    5/6
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